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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA                                    Criminal Case No.

                            Complainant,
            v.                                              1:21-cr-28-8-APM

KELLY MEGGS

          and                                               Assigned to the Honorable
                                                            Amit Mehta, District
KENNETH HARRELSON                                           Court Judge

(Styled as USA v. Thomas Edward Caldwell
incorporating cases against multiple Defendants)
                           Defendant



               KELLY MEGGS AND KENNETH HARRELSON
    REQUEST FOR SCHEDULING HEARING, ARGUMENT, AND DECISION ON
   MOTION TO REMOVE THE SENSITIVE DESIGNATION OF CERTAIN VIDEO

       COMES NOW the Defendants Mr. Kelly Meggs and Mr. Kenneth Harrelson, by counsel,

pursuant to Paragraph 9 of the Protective Order and hereby respectfully move the Court for an

order directing the Government to remove sensitivity designations to publicly release one or

more video(s) produced under a Protective Order. The video(s) in question are described as the

“West Terrace 3 Hour Block” video attached as Exhibit 13 in EXHIBIT A, attached, Defendant

Ryan Nichols’ Motion For Modification Of Bail To Place Defendant On Conditional

Release Pending Trial, USA v. Ryan Taylor Nichols, Case No. 21-cr-00117-TFH-1, within this

Court, ECF Dkt. # 55, November 1, 2021, and also EXHIBIT B, attached, Andrea Widburg,

“Did Capitol Police murder someone other than Ashli Babbitt?,” American Thinker,

November 22, 2021, accessible at
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https://www.americanthinker.com/blog/2021/11/did_capitol_police_murder_someone_oth

er_than_ashli_babbitt_.html (mis-identifying the motion as a motion to dismiss), and EXHIBIT

C, attached Julie Kelly, “Terror in the Capitol Tunnel,” American Greatness, November 18,

2021, accessible at: https://amgreatness.com/2021/11/18/terror-in-the-capitol-tunnel/

                         REQUEST FOR ORAL ARGUMENT

       Defendant Kelly Meggs, by counsel, requests oral argument upon the motion.




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Dated: November 23, 2021             RESPECTFULLY SUBMITTED
                                     KELLY MEGGS, By Counsel




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                                CERTIFICATE OF SERVICE

                I hereby certify that on November 23, 2021, I electronically filed the foregoing
document with the Clerk of the Court by using the CM/ECF system, which will send a notice of
electronic filing to the following CM/ECF participants. From my review of the PACER / ECF
docket records for this case that the following attorneys will receive notice through the ECF
system of the U.S. District Court for the District of Columbia.

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               U.S. DEPARTMENT OF JUSTICE

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